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               CITY          OF       TRENTON,

                          NEW JERSEY .




      CHARTER              AND ORDINANCES ;



                              ALSO CERTAIN




           ACTS OF THE LEGISLATURE                      RELATING

               TO MUNICIPAL DEPARTMENTS ,



                                     AND



     A TABLE   OF CASES         CITED IN          THE       FOOT   NOTES.




                   Revised , Compiled and Published

               BY ORDER OF THE COMMON COUNCIL.




                                                                   14
                              TRENTON, N. J.:
                 THE JOHN L. MURPHY PUBLISHING CO. , PRINTERS.
                                     1903.
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        390                                CITY OF TRENTON.


                          to the amount to be raised by taxes in said city ; and
                          said portion of the principal so raised shall be paid
                          yearly to the sinking fund commission of the city of
                          Trenton, to be used exclusively for the liquidation of said
                          bonds ; provided, however, that whenever the amount of
                          moneys in the hands of said commission shall be suffi
                          cient for the redemption of said bonds, no further sums
                          shall be raised by taxation.
        When to take
        effect.              9. That this ordinance shall take effect immediately.



                          An Ordinance providing for the government and protection of
                                public parks and squares of the city of Trenton.
        Vol. 6, p. 131.                                       Approved June 26th, 1890.
                        The Inhabitants of the City of Trenton do ordain :
        Rate of speed
        for driving        1. No one shall drive or ride in Cadwalader park at
        or riding.      a rate exceeding seven miles an hour.
        Driving, where     2. No one shall ride or drive in or upon any of the
        allowed.
                        public squares of this city or upon any other part of
                        said park than upon its avenues and roads.
        What vehicles      3. No vehicle of burden or traffic shall pass through
        not allowed in
        park.           said park.
        How persons        4. No person shall enter or leave said park or squares
        shall enter.
                        except by such gates or avenues as may be for such pur
                        pose arranged.
        Wagons not to      5. No coach or vehicle used for hire shall stand upon
        stand in park
        for hire.       any part of said park for the purpose of hire.
        No threatening
        Janguage to be     6. No person shall indulge in any threatening, abusive,
        used .          insulting or indecent language in said park or squares.
        No obscene act
        to be per          7. No person shall engage in any gaming nor commit.
        mitted.
                        any obscene or indecent act in the said park or squares.
        No person to       8. No person shall carry firearms or shoot birds in
        carry firearms.
                        said park or squares, or within fifty yards thereof, or
                        throw stones or other missiles therein.
        No person to
        annoy any of       9. No person shall disturb the fish or water fowl in
        the animals.
                        the pools, ponds or other waters, or birds in any part of
                        said park or squares, or annoy, strike, injure, maim or
                        kill any animal kept by direction of common council
                          or the park committee thereof, either running at large
                          or confined in a close, nor discharge any fireworks nor
                          affix any bills therein.
        Not to deface
        trees or build      10. No person shall cut, break or in anywise injure
        ings.
                          or deface the trees, shrubs, plants, turf, or any of the
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             SPECIAL ORDINANCES. —PARKS .                                  391


     outbuildings , fences, bridges, structures or statuary, or
     foul any fountains or springs within said park or squares.
                                                                 any to
        11. No person shall throw any dead animal or offensive Not      throw
                                                                     offensive
     matter or substance of any kind into any pool, pond or water.
                                                                 matter in
     other waters within the boundaries of said park or squares.
                                                                 Bathing pro
        12. No person shall go into bathe within said park.      hibited.
        13. No person shall turn cattle, goats, swine, horses , go
                                                                 Noloos
                                                                    animals
                                                                        e in to
     dogs or other animals loose in said park or squares.        park.
       14. No person shall injure, deface or destroy any Notices     not to
                                                              be defaced.
    notices, rules or regulations for the government of the
    said park or squares, posted or in any other way per
    manently fixed by order or permission of the common
    council or the park committtee thereof, within the limits
    of the same .
       15. That for each and every violation of any of the Penalty.
     foregoing provisions of this ordinance the person or per
     sons so violating shall forfeit and pay a fine of ten
     dollars, to be enforced and collected according to law.


      An Ordinance to name the Five Points " Monument Park."


     The Inhabitants of the City of Trenton do ordain :
                                                                            of
       1. That, the locality commonly known as the Five June 28th, 1898 ,
     Points, being that portion of the city bounded and de Sec.     1,
                                                               Vol. 6, p. 411.
     scribed by Pennington avenue on the north, Broad street
     on the east, the southerly line of the lands recently pur
     chased by the city of Trenton for a public park, by an
     ordinance passed common council February twenty-first,
     one thousand eight hundred and ninety-three, entitled
     "An ordinance to authorize the purchase of lands for
     the purposes of a public park," on the south, and the
     line of North Warren street, on the west, shall be hereby
     designated and known as "Monument Park."
       2. That all ordinances or parts of ordinances incon- Ib., 2.
     sistent herewith, be and the same are hereby repealed.
